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                                                                                         FILED
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                                                                       APR -4 20t8
                                       EASTERN DMSION                                  U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF MO
                                                                                             ST. LOUIS
 UNITED STATES OF AMERICA,                           )
                                                     )
                  Plaintiff,                         )
                                                     )
 v.                                                  )
                                                     )
 BOBBY J. WOODS,                                     )
                                                     )
                                                            4:18CR296 CDP/DDN
                  Defendant.                         )
                                                     )
                                                     )


                                           INDICTMENT

The Grand Jury charges that:

                                      COUNTl
                        [MAIL FRAUD CONSPIRACY: 18U.S.C.§1349]

                                          INTRODUCTION

1. Beginning in or about 2008 and continuing until in or about December of2014, in the Eastern

      District of Missouri, BOBBY J. WOODS and Alan Johnson did knowingly and willfully

      combine, conspire, confederate and agree with each other and others known and unknown, to

      commit the following offense against the United States:

         a. To devise and intend to devise a scheme to defraud, and to obtain money and property

             from "BMI" by meaD;S of materially false and fraudulent pretenses, representations and

             promises, and for the purpose of executing the scheme described below, and attempting

             to do so, to cause to be sent or delivered by any private or commercial interstate carrier,

             or knowingly cause to be delivered by mail or such carrier according to the direction
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                thereon, or at the place at which it is directed to be delivered by the person to whom it

                is addressed, in violation of Title 18, United States Code, Section 1341.

                                             BACKGROUND

     2. During all times pertinent to this fudictment, BMI was a company headquartered m

         Chesterfield, Missouri in the Eastern District of Missouri.

     3. During all times pertinent to this fudictment, BMI manufactured oil and gas production

         chemicals.

     4. During all times pertinent to this fudictment, Alan Johnson was employed by BMI and was

        responsible for purchasing industrial equipment for BMI.

     5. During all times pertinent to this fudictment, Controls Plus was a vendor that had regular

        business dealings with BMI and supplied BMI with industrial equipment and labor to service

        the equipment.

     6. During all times pertinent to this fudictment, the defendant, BOBBY J. WOODS, was the

        owner and operator of Controls Plus and was BMI's exclusive contact for Controls Plus.

                                         MANNER AND MEANS

            The ways, manner and means by which the foregoing objective of the conspiracy to commit

     mail fraud were to be accomplished included, but were not limited to, the following:

     7. The primary purpose of the conspiracy was forthe defendant, BOBBY J. WOODS, to receive

        payment from BMI through Alan Johnson on invoices reflecting substantially and fraudulently

        inflated costs in exchange for the payment of kickbacks to Alan Johnson.

     8. It was a part of the conspiracy that Controls Plus sent invoices reflecting fraudulently inflated

        equipment costs to BMI either by means of a private carrier who travelled in interstate

        commerce or through the United States Postal Service.



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9. It was further a part of the conspiracy that during the course of the business relationship

    between BMI and Controls Plus, BMI paid the defendant, BOBBY J. WOODS, at least

    $1,900,000.00 for labor and equipment provided by independent suppliers.

10. It was further a part of the conspiracy that the defendant BOBBY J. WOODS paid Alan

    Johnson kickback payments reflecting approximately 10 to 20 percent of the invoiced amount

    charged to BMI by Controls Plus.

11. It was further a part of the conspiracy that BOBBY J. WOODS issued at least $150,000 in

   payments to Alan Johnson as part of the kickback plan.

All in violation of Title 18, United States Code, Section 1349.

Dated: - - - - - - -                            A TRUE BILL



                                                FOREPERSON



                                                JEFFREY B. JENSEN
                                                United States Attorney



                                                Gwendolyn E. Carroll
                                                Assistant United States Attorney




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